                      Case 8-19-71978-reg                            Doc 16       Filed 04/02/19            Entered 04/02/19 16:47:51




 Fill in this information to identify the case:

 Debtor name         Commack Plaza, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)         8-19-71978
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration               Affidavit Pursuant to Local Rule 1007-4
                                                                           Affidavit Regarding Initial Retainer

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          April 2, 2019                           X /s/ Steve Menexas
                                                                       Signature of individual signing on behalf of debtor

                                                                       Steve Menexas
                                                                       Printed name

                                                                       Managing Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                           Case 8-19-71978-reg                        Doc 16           Filed 04/02/19               Entered 04/02/19 16:47:51



 Fill in this information to identify the case:
 Debtor name Commack Plaza, LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW                                                                                           Check if this is an
                                                YORK
 Case number (if known):         8-19-71978                                                                                                                amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and            Name, telephone number         Nature of claim              Indicate if claim   Amount of claim
 complete mailing address,       and email address of           (for example, trade debts,    is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code              creditor contact               bank loans, professional     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                services, and government         disputed        value of collateral or setoff to calculate unsecured claim.
                                                                contracts)                                       Total claim, if            Deduction for value         Unsecured claim
                                                                                                                 partially secured          of collateral or setoff
 Ace Endico Corp.                                                                            Contingent                                                                     $327,601.36
 80 International                                                                            Unliquidated
 Blvd                                                                                        Disputed
 Brewster, NY 10509
 Ace Endico Corp.                                                                            Disputed                                                                         $44,864.29
 80 International
 Blvd
 Brewster, NY 10509
 All Island Media                                                                                                                                                               $3,000.00
 1 Rodeo Dr.
 Brentwood, NY
 11717
 Internal Revenue                                               Payroll Tax                                                                                                 $191,696.11
 Service
 PO Box 7317
 Philadelphia, PA
 19101-7317
 Michael Skurnik                                                                                                                                                                $1,864.00
 Wines Inc
 48 W. 25th Street
 Floor 9
 New York, NY 10010
 NewBank                                                        Substantially All                                    $3,440,197.73                   Unknown                    Unknown
 148-01 Northern                                                of the Debtors'
 Blvd                                                           Assets
 Flushing, NY 11354
 Nuco 2 LLC                                                                                                                                                                     $1,806.52
 PO Box 417902
 Boston, MA 02241
 NYS Dept of Tax &                                                                                                                                                            $17,522.39
 Finance
 Bankruptcy Section
 PO Box 5300
 Albany, NY 12205
 Out of the Blue                                                                                                                                                                $6,315.22
 1271 Ryawa Avenue
 New York, NY 10087


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                      page 1

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 Debtor    Commack Plaza, LLC                                                                                     Case number (if known)         8-19-71978
           Name

 Name of creditor and            Name, telephone number         Nature of claim              Indicate if claim   Amount of claim
 complete mailing address,       and email address of           (for example, trade debts,    is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code              creditor contact               bank loans, professional     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                services, and government         disputed        value of collateral or setoff to calculate unsecured claim.
                                                                contracts)                                       Total claim, if            Deduction for value         Unsecured claim
                                                                                                                 partially secured          of collateral or setoff
 PJ Venture FG, LLC                                             Real Property                                                                                               $134,223.41
 PO Box 348                                                     Lease
 Commack, NY 11725
 PSEG Long Island                                                                                                                                                             $39,627.20
 Customer Relations
 PO Box 888
 Hicksville, NY
 11802-0888
 Rivkin Radler LLP                                              Legal Fees                                                                                                  $118,206.50
 926 RXR Plaza
 Uniondale, NY
 11556
 St. John's Produce                                                                          Disputed                                                                         $12,492.00
 7 Dawn Lane
 Albertson, NY 11507
 Suffolk County                                                 Utility Bill                                                                                                    $1,057.06
 Water
 Authority
 2045 Route 112
 Suite 5
 Coram, NY 11727
 Sysco Long Island                                                                                                                                                            $25,452.09
 199 Lowel Avenue
 Central Islip, NY
 11722
 Town of Smithtown                                              Utility Bill/Water                                                                                              $2,265.09
 PO Box 9066
 Hicksville, NY 11802
 Tristate Carbonation                                                                                                                                                             $246.82
 216 E. Broadway #2
 Monticello, NY
 12701




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                      page 2

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                         Case 8-19-71978-reg                                  Doc 16                Filed 04/02/19                        Entered 04/02/19 16:47:51


 Fill in this information to identify the case:

 Debtor name            Commack Plaza, LLC

 United States Bankruptcy Court for the:                     EASTERN DISTRICT OF NEW YORK

 Case number (if known)              8-19-71978
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $          169,153.78

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $          169,153.78


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        3,620,687.27


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $          209,218.50

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$          719,021.56


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $          4,548,927.33




 Official Form 206Sum                                            Summary of Assets and Liabilities for Non-Individuals                                                                                   page 1
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 Fill in this information to identify the case:

 Debtor name         Commack Plaza, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)         8-19-71978
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest
 2.        Cash on hand                                                                                                                             $500.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number


           3.1.     Capital One                                               Checking Account                                                  $10,153.78



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                 $10,653.78
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     PSEG Security Deposit                                                                                                       $16,000.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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 Debtor         Commack Plaza, LLC                                                                   Case number (If known) 8-19-71978
                Name


 9.        Total of Part 2.                                                                                                                 $16,000.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 2,500.00   -                                   0.00 = ....                   $2,500.00
                                              face amount                              doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                   $2,500.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       No. Go to Part 6.
        Yes Fill in the information below.

           General description                       Date of the last               Net book value of         Valuation method used   Current value of
                                                     physical inventory             debtor's interest         for current value       debtor's interest
                                                                                    (Where available)

 19.       Raw materials
           Food Inventory                                                                          $0.00                                        $22,500.00


           Liquor Inventory                                                                        $0.00                                          $7,500.00



 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Tables, Chairs, and
           Stools                                                                                  $0.00                                        $10,000.00


           Cutlery and Glassware                                                                   $0.00                                          $5,000.00



 23.       Total of Part 5.                                                                                                                 $45,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                         page 2
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                      Case 8-19-71978-reg                            Doc 16     Filed 04/02/19          Entered 04/02/19 16:47:51


 Debtor         Commack Plaza, LLC                                                                Case number (If known) 8-19-71978
                Name


               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                        Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

       No. Go to Part 7.
       Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

       No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                    Net book value of       Valuation method used   Current value of
                                                                                  debtor's interest       for current value       debtor's interest
                                                                                  (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computer Equipment, Entertainment Center,
           Registers                                                                            $0.00                                       $35,000.00


           Office Equipment                                                                     $0.00                                         $5,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                $40,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

       No. Go to Part 9.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 3
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 Debtor         Commack Plaza, LLC                                                             Case number (If known) 8-19-71978
                Name

            General description                                                Net book value of       Valuation method used   Current value of
            Include year, make, model, and identification numbers              debtor's interest       for current value       debtor's interest
            (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            Two (2) Dishwashers
            Subject to Lease                                                                 $0.00                                               $0.00


            Kitchen Equipment                                                                $0.00                                       $50,000.00



 51.        Total of Part 8.                                                                                                         $50,000.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

       No. Go to Part 10.
       Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

       No. Go to Part 11.
       Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

       No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 4
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 Debtor         Commack Plaza, LLC                                                           Case number (If known) 8-19-71978
                Name



 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

           Damaged Lighting Equipment                                                                                                 $5,000.00
           Nature of claim      Insurance Claim
           Amount requested                                               $0.00



 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                       $5,000.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 5
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                       Case 8-19-71978-reg                            Doc 16             Filed 04/02/19                  Entered 04/02/19 16:47:51


 Debtor          Commack Plaza, LLC                                                                                Case number (If known) 8-19-71978
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                            Current value of                       Current value of real
                                                                                                  personal property                      property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $10,653.78

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $16,000.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                    $2,500.00

 83. Investments. Copy line 17, Part 4.                                                                                   $0.00

 84. Inventory. Copy line 23, Part 5.                                                                             $45,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                            $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $40,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $50,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                        $0.00

 90. All other assets. Copy line 78, Part 11.                                                 +                    $5,000.00

 91. Total. Add lines 80 through 90 for each column                                                         $169,153.78              + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $169,153.78




Official Form 206A/B                                             Schedule A/B Assets - Real and Personal Property                                                            page 6
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 Fill in this information to identify the case:

 Debtor name         Commack Plaza, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)             8-19-71978
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:     List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   NewBank                                       Describe debtor's property that is subject to a lien                $3,440,197.73                  Unknown
       Creditor's Name                               Substantially All of the Debtors' Assets
       148-01 Northern Blvd
       Flushing, NY 11354
       Creditor's mailing address                    Describe the lien
                                                     SBA Loan
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       12/19/2013                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       5005
       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   NYS Dept of Tax & Finance                     Describe debtor's property that is subject to a lien                  $138,203.48                  Unknown
       Creditor's Name
       Bankruptcy Section
       PO Box 5300
       Albany, NY 12205
       Creditor's mailing address                    Describe the lien
                                                     Tax Lien
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       2017-2018                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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 Debtor       Commack Plaza, LLC                                                                        Case number (if know)       8-19-71978
              Name

            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.3    US Foods, Inc.                               Describe debtor's property that is subject to a lien                        $42,286.06              Unknown
        Creditor's Name                              Substantiall All of the Debtor's Assets
        1051 Amboy Avenue
        Perth Amboy, NJ 08861
        Creditor's mailing address                   Describe the lien
                                                     UCC Lien
                                                     Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known               Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
        2/14/2019                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                                $3,620,687.2
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                          7

 Part 2: List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                       On which line in Part 1 did you     Last 4 digits of
                                                                                                                enter the related creditor?         account number for
                                                                                                                                                    this entity
         LaMonica Herbst & Manisca
         3305 Jerusalem Ave                                                                                     Line   2.1
         Suite 201
         Wantagh, NY 11793

         Meyer Suozzi English Klie
         990 Steward Avenue                                                                                     Line   2.1
         Suite 300
         Garden City, NY 11530

         US Small Business
         Administration                                                                                         Line   2.1
         New York District Office
         26 Federal Plaza Ste 3100
         New York, NY 10278




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Commack Plaza, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)           8-19-71978
                                                                                                                                                    Check if this is an
                                                                                                                                                    amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with
          priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                      Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $191,696.11          $0.00
           Internal Revenue Service                                  Check all that apply.
           PO Box 7317                                                  Contingent
           Philadelphia, PA 19101-7317                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2018-2019                                                 Payroll Tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                          $17,522.39         $0.00
           NYS Dept of Tax & Finance                                 Check all that apply.
           Bankruptcy Section                                           Contingent
           PO Box 5300                                                  Unliquidated
           Albany, NY 12205                                             Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2019
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 5
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 Debtor      Commack Plaza, LLC                                                                        Case number (if known)             8-19-71978
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 3.1      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                 $0.00
          2 Henry St. Plaza                                                      Contingent
          2 Henry St.                                                            Unliquidated
          Commack, NY 11725                                                      Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:    Noticing Purposes Only
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

 3.2      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.         $44,864.29
          Ace Endico Corp.                                                       Contingent
          80 International Blvd                                                  Unliquidated
          Brewster, NY 10509                                                     Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.       $327,601.36
          Ace Endico Corp.                                                       Contingent
          80 International Blvd
                                                                                 Unliquidated
          Brewster, NY 10509
                                                                                 Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                     Basis for the claim:

                                                                              Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.           $3,000.00
          All Island Media                                                       Contingent
          1 Rodeo Dr.                                                            Unliquidated
          Brentwood, NY 11717                                                    Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                 $0.00
          Antonios Dagounakis                                                    Contingent
          26-29 212th St.                                                        Unliquidated
          Bayside, NY 11360
                                                                                 Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.           $1,864.00
          Michael Skurnik Wines Inc                                              Contingent
          48 W. 25th Street                                                      Unliquidated
          Floor 9                                                                Disputed
          New York, NY 10010
                                                                              Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                     Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                 $0.00
          Noble Management Group                                                 Contingent
          228 Park Avenue S                                                      Unliquidated
          #48897                                                                 Disputed
          New York, NY 10003
                                                                              Basis for the claim:    Noticing Purposes Only
          Date(s) debt was incurred
          Last 4 digits of account number                                     Is the claim subject to offset?     No       Yes




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 Debtor      Commack Plaza, LLC                                                                        Case number (if known)             8-19-71978
             Name

 3.8      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.           $1,806.52
          Nuco 2 LLC                                                             Contingent
          PO Box 417902                                                          Unliquidated
          Boston, MA 02241                                                       Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.           $6,315.22
          Out of the Blue                                                        Contingent
          1271 Ryawa Avenue                                                      Unliquidated
          New York, NY 10087                                                     Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.       $134,223.41
          PJ Venture FG, LLC                                                     Contingent
          PO Box 348                                                             Unliquidated
          Commack, NY 11725                                                      Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:    Real Property Lease
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.         $39,627.20
          PSEG Long Island                                                       Contingent
          Customer Relations                                                     Unliquidated
          PO Box 888                                                             Disputed
          Hicksville, NY 11802-0888
                                                                              Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                     Is the claim subject to offset?     No       Yes


 3.12     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                 $0.00
          Quality Star Development                                               Contingent
          228 Park Avenue S                                                      Unliquidated
          #48897                                                                 Disputed
          New York, NY 10003
                                                                              Basis for the claim:    Noticing Purposes Only
          Date(s) debt was incurred
          Last 4 digits of account number                                     Is the claim subject to offset?     No       Yes


 3.13     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.       $118,206.50
          Rivkin Radler LLP                                                      Contingent
          926 RXR Plaza                                                          Unliquidated
          Uniondale, NY 11556                                                    Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:    Legal Fees
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.         $12,492.00
          St. John's Produce                                                     Contingent
          7 Dawn Lane                                                            Unliquidated
          Albertson, NY 11507                                                    Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3 of 5
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              Name

 3.15      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,057.06
           Suffolk County Water
           Authority                                                             Contingent
           2045 Route 112                                                        Unliquidated
           Suite 5                                                               Disputed
           Coram, NY 11727
                                                                              Basis for the claim:    Utility Bill
           Date(s) debt was incurred
           Last 4 digits of account number     2794                           Is the claim subject to offset?        No      Yes


 3.16      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $25,452.09
           Sysco Long Island                                                     Contingent
           199 Lowel Avenue                                                      Unliquidated
           Central Islip, NY 11722                                               Disputed
           Date(s) debt was incurred
                                                                              Basis for the claim:
           Last 4 digits of account number
                                                                              Is the claim subject to offset?        No      Yes

 3.17      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,265.09
           Town of Smithtown                                                     Contingent
           PO Box 9066                                                           Unliquidated
           Hicksville, NY 11802                                                  Disputed
           Date(s) debt was incurred
                                                                              Basis for the claim:    Utility Bill/Water
           Last 4 digits of account number
                                                                              Is the claim subject to offset?        No      Yes

 3.18      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $246.82
           Tristate Carbonation                                                  Contingent
           216 E. Broadway #2                                                    Unliquidated
           Monticello, NY 12701                                                  Disputed
           Date(s) debt was incurred
                                                                              Basis for the claim:
           Last 4 digits of account number
                                                                              Is the claim subject to offset?        No      Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees
   of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                    On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                       related creditor (if any) listed?               account number, if
                                                                                                                                                       any
 4.1       Andrew Presberg, Esq.
           100 Corporate Plaza                                                                         Line     3.10
           Suite B102
                                                                                                                Not listed. Explain
           Islandia, NY 11749
 4.2       Darren Jay Epstein, Esq.,
           254 South Main Street                                                                       Line     3.14
           Suite 406
                                                                                                                Not listed. Explain
           New City, NY 10956
 4.3       Darren Jay Epstein, Esq.,
           254 South Main Street                                                                       Line     3.2
           Suite 406
                                                                                                                Not listed. Explain
           New City, NY 10956
 4.4       Darren Jay Epstein, Esq.,
           254 South Main Street                                                                       Line     3.3
           Suite 406
                                                                                                                Not listed. Explain
           New City, NY 10956



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             Name

 Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                    209,218.50
 5b. Total claims from Part 2                                                                       5b.   +   $                    719,021.56

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                       928,240.06




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 Fill in this information to identify the case:

 Debtor name         Commack Plaza, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)         8-19-71978
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.        State what the contract or                   Two (2) Dishwashers
             lease is for and the nature of               ($124.86 and
             the debtor's interest                        $244.95/month)

                 State the term remaining                 2020
                                                                                       Ecolab
             List the contract number of any                                           PO Box 32027
                   government contract                                                 New York, NY 10087


 2.2.        State what the contract or                   Fixed Rent: $17,735.58
             lease is for and the nature of               CAC: $1,800.00
             the debtor's interest                        Total: $19,535.58

                 State the term remaining                 12/31/2034
                                                                                       PJ Venture FG, LLC
             List the contract number of any                                           PO Box 348
                   government contract                                                 Commack, NY 11725




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Commack Plaza, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)         8-19-71978
                                                                                                                              Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                       Column 2: Creditor



             Name                              Mailing Address                                    Name                          Check all schedules
                                                                                                                                that apply:

    2.1      Atlantic Yards                    673 Atlantic Ave                                   NewBank                          D   2.1
             Plaza, LLC                        Brooklyn, NY 11217                                                                  E/F
                                                                                                                                   G




    2.2      Atlantic Yards                    673 Atlantic Ave                                   Ace Endico Corp.                 D
             Plaza, LLC                        Brooklyn, NY 11217                                                                  E/F        3.3
                                                                                                                                   G




    2.3      Bay Terrace                       210-35 26th Avenue                                 NewBank                          D   2.1
             Plaza, LLC                        Bayside, NY 11360                                                                   E/F
                                                                                                                                   G




    2.4      Bay Terrace                       210-35 26th Avenue                                 Ace Endico Corp.                 D
             Plaza, LLC                        Bayside, NY 11360                                                                   E/F        3.3
                                                                                                                                   G




    2.5      Emma Stubbs                       12 Restwood Road                                   Ace Endico Corp.                 D
                                               Cranston, RI 02920                                                                  E/F        3.3
                                                                                                                                   G




Official Form 206H                                                             Schedule H: Your Codebtors                                     Page 1 of 2
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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.6      Giorgios                          4 Elm Sea Lane                                       NewBank                          D   2.1
             Menexas                           Manhasset, NY 11030                                                                   E/F
                                                                                                                                     G




    2.7      Giorgios                          4 Elm Sea Lane                                       Ace Endico Corp.                 D
             Menexas                           Manhasset, NY 11030                                                                   E/F       3.3
                                                                                                                                     G




    2.8      SGM Foods LLC                     15-11A College Point Blvd                            Ace Endico Corp.                 D
                                               College Point, NY 11356                                                               E/F       3.3
                                                                                                                                     G




    2.9      Steve Menexas                     301 Vanderbilt Pkwy                                  NewBank                          D   2.1
                                               Huntington Station, NY 11746                                                          E/F
                                                                                                                                     G




    2.10     Steve Menexas                     301 Vanderbilt Pkwy                                  Ace Endico Corp.                 D
                                               Huntington Station, NY 11746                                                          E/F       3.3
                                                                                                                                     G




Official Form 206H                                                             Schedule H: Your Codebtors                                      Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Commack Plaza, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)         8-19-71978
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:     Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $361,515.60
       From 1/01/2019 to Filing Date
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
   lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1

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 Debtor       Commack Plaza, LLC                                                                        Case number (if known) 8-19-71978



    List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
    at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    PJ Ventures FG, LLC v.                           Non-Payment                District Court of the County                  Pending
               Commack Plaza, LLC                               Action                     of Suffolk                                    On appeal
               LT-000180-28/SM                                                             Fourth District
                                                                                                                                         Concluded
                                                                                           County Complex, Bldg
                                                                                           C158
                                                                                           Veterans Memorial Highway
                                                                                           Smithtown, NY 11787

       7.2.    St. John's Produce Inc. v. Ara                   Collection                 Rockland County Supreme                       Pending
               Greek Kitchen & Bar                                                         Court                                         On appeal
               031135/2018                                                                 Commercial Division
                                                                                                                                         Concluded

       7.3.    Ace Endico Corp. v.                              Collection                 Rockland County Supreme                       Pending
               Commack Plaza, LLC                                                          Court                                         On appeal
               035432/2018                                                                 Commercial Division
                                                                                                                                         Concluded

       7.4.    Antonios Dagounakis v.                                                      Suffolk County Supreme                        Pending
               Commack Plaza, LLC                                                          Court                                         On appeal
               608498/2018                                                                 Commercial Division
                                                                                                                                         Concluded

       7.5.    Ace Endico Corp. v. Bay                          Collection                 Putnam County Supreme                         Pending
               Terrace Plaza, LLC                                                          Court                                         On appeal
               500874/2018                                                                 Commercial Division
                                                                                                                                         Concluded

       7.6.    NewBank v. Commack Plaza,                        Collection                 Suffolk County Supreme                        Pending
               LLC                                                                         Court                                         On appeal
               623700/2017                                                                 Commercial Division
                                                                                                                                         Concluded

       7.7.    Antonios Dagounakis v. Bay                                                  Nassau County Supreme                         Pending
               Terrace Plaza, LLC                                                          Court                                         On appeal
               612624/2018                                                                 Commercial Division
                                                                                                                                         Concluded



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2

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 Debtor        Commack Plaza, LLC                                                                          Case number (if known) 8-19-71978



8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of
   a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                 Dates given                       Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                  Dates of loss        Value of property
       how the loss occurred                                                                                                                                lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).
       Lighting Equipment in Flood                              0                                                         2/3/2019                    $5,000.00


 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates            Total amount or
                the transfer?                                                                                                                            value
                Address
       11.1.    Macco & Stern, LLP
                2950 Express Drive South                             As an initial retainer legel services in
                Suite 109                                            connection with the instant chapter 11,
                Islandia, NY 11749                                   $25,000.                                                  3/29/2019            $25,000.00

                Email or website address


                Who made the payment, if not debtor?
                Steve Menexas



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 3

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                      Case 8-19-71978-reg                            Doc 16      Filed 04/02/19            Entered 04/02/19 16:47:51

 Debtor      Commack Plaza, LLC                                                                         Case number (if known) 8-19-71978



       Name of trust or device                                       Describe any property transferred                 Dates transfers             Total amount or
                                                                                                                       were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                    Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange               was made                          value

 Part 7:     Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                       Nature of the business operation, including type of services              If debtor provides meals
                                                                the debtor provides                                                       and housing, number of
                                                                                                                                          patients in debtor’s care

 Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension
    or profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or           Date account was               Last balance
               Address                                          account number            instrument                   closed, sold,              before closing or
                                                                                                                       moved, or                           transfer
                                                                                                                       transferred


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 Debtor      Commack Plaza, LLC                                                                         Case number (if known) 8-19-71978



19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                         Names of anyone with               Description of the contents        Do you still
                                                                       access to it                                                          have it?
                                                                       Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                       Names of anyone with               Description of the contents        Do you still
                                                                       access to it                                                          have it?


 Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                      Court or agency name and           Nature of the case                 Status of case
       Case number                                                     address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                           Governmental unit name and              Environmental law, if known   Date of notice
                                                                       address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.


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 Debtor      Commack Plaza, LLC                                                                         Case number (if known) 8-19-71978



       Site name and address                                           Governmental unit name and              Environmental law, if known              Date of notice
                                                                       address

 Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
            None

       Name and address                                                                                                                         Date of service
                                                                                                                                                From-To
       26a.1.       Peter Stellatos                                                                                                             2017-Present
                    42-27 Bell Blvd.
                    Bayside, NY 11361

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                          Address                                              Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       Steven Menexas                                                                                     Managing Member




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6

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 Debtor      Commack Plaza, LLC                                                                         Case number (if known) 8-19-71978




            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of               Dates             Reason for
                                                                property                                                                    providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:    Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
      true and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         April 2, 2019

 /s/ Steve Menexas                                                       Steve Menexas
 Signature of individual signing on behalf of the debtor                 Printed name

 Position or relationship to debtor         Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7

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B2030 (Form 2030) (12/15)
                                                              United States Bankruptcy Court
                                                                      Eastern District of New York
 In re       Commack Plaza, LLC                                                                               Case No.      8-19-71978
                                                                                     Debtor(s)                Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 25,000.00
             Prior to the filing of this statement I have received                                        $                 25,000.00
             Balance Due                                                                                  $                       0.00

2.     $    0.00      of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                   Debtor                Other (specify):            Steve Menexas

4.     The source of compensation to be paid to me is:
                   Debtor                Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Exemption planning; preparation and filing of reaffirmation agreements and applications as needed

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                              CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     April 2, 2019                                                                   /s/ Michael J. Macco
     Date                                                                            Michael J. Macco
                                                                                     Signature of Attorney
                                                                                     Macco and Stern, LLP
                                                                                     2950 Express Drive South
                                                                                     Suite 109
                                                                                     Islandia, NY 11749
                                                                                     631-549-7900 Fax: 631-549-7845
                                                                                     Name of law firm




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                                                              United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      Commack Plaza, LLC                                                                                      Case No.        8-19-71978
                                                                                   Debtor(s)                        Chapter         11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                              Security Class Number of Securities                      Kind of Interest
 business of holder
 Antonios Dagounakis                                                                                                           1/3 Interest
 26-29 212th St.
 Bayside, NY 11360

 Giorgios Menexas                                                                                                              1/3 Interest
 4 Elm Sea Lane
 Manhasset, NY 11030

 Steve Menexas                                                                                                                 1/3 Interest
 301 Vanderbilt Pkwy
 Huntington Station, NY 11746


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing Member of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date April 2, 2019                                                           Signature /s/ Steve Menexas
                                                                                           Steve Menexas

                      Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                       18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                              United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      Commack Plaza, LLC                                                                            Case No.   8-19-71978
                                                                                    Debtor(s)             Chapter    11




                                              VERIFICATION OF CREDITOR MATRIX


        The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.




 Date:       April 2, 2019                                               /s/ Steve Menexas
                                                                         Steve Menexas/Managing Member
                                                                         Signer/Title

 Date:     April 2, 2019                                                 /s/ Michael J. Macco
                                                                         Signature of Attorney
                                                                         Michael J. Macco
                                                                         Macco and Stern, LLP
                                                                         2950 Express Drive South
                                                                         Suite 109
                                                                         Islandia, NY 11749
                                                                         631-549-7900 Fax: 631-549-7845




USBC-44                                                                                                                            Rev. 9/17/98


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                    2 Henry St. Plaza
                    2 Henry St.
                    Commack, NY 11725


                    Ace Endico Corp.
                    80 International Blvd
                    Brewster, NY 10509


                    All Island Media
                    1 Rodeo Dr.
                    Brentwood, NY 11717


                    Andrew Presberg, Esq.
                    100 Corporate Plaza
                    Suite B102
                    Islandia, NY 11749


                    Antonios Dagounakis
                    26-29 212th St.
                    Bayside, NY 11360


                    Atlantic Yards Plaza, LLC
                    673 Atlantic Ave
                    Brooklyn, NY 11217


                    Bay Terrace Plaza, LLC
                    210-35 26th Avenue
                    Bayside, NY 11360


                    Darren Jay Epstein, Esq.,
                    254 South Main Street
                    Suite 406
                    New City, NY 10956


                    Ecolab
                    PO Box 32027
                    New York, NY 10087


                    Emma Stubbs
                    12 Restwood Road
                    Cranston, RI 02920


                    Giorgios Menexas
                    4 Elm Sea Lane
                    Manhasset, NY 11030
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                Internal Revenue Service
                PO Box 7317
                Philadelphia, PA 19101-7317


                LaMonica Herbst & Manisca
                3305 Jerusalem Ave
                Suite 201
                Wantagh, NY 11793


                Meyer Suozzi English Klie
                990 Steward Avenue
                Suite 300
                Garden City, NY 11530


                Michael Skurnik Wines Inc
                48 W. 25th Street
                Floor 9
                New York, NY 10010


                NewBank
                148-01 Northern Blvd
                Flushing, NY 11354


                Noble Management Group
                228 Park Avenue S
                #48897
                New York, NY 10003


                Nuco 2 LLC
                PO Box 417902
                Boston, MA 02241


                NYS Dept of Tax & Finance
                Bankruptcy Section
                PO Box 5300
                Albany, NY 12205


                Out of the Blue
                1271 Ryawa Avenue
                New York, NY 10087


                PJ Venture FG, LLC
                PO Box 348
                Commack, NY 11725
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                PSEG Long Island
                Customer Relations
                PO Box 888
                Hicksville, NY 11802-0888


                Quality Star Development
                228 Park Avenue S
                #48897
                New York, NY 10003


                Rivkin Radler LLP
                926 RXR Plaza
                Uniondale, NY 11556


                SGM Foods LLC
                15-11A College Point Blvd
                College Point, NY 11356


                St. John's Produce
                7 Dawn Lane
                Albertson, NY 11507


                Steve Menexas
                301 Vanderbilt Pkwy
                Huntington Station, NY 11746


                Suffolk County Water
                Authority
                2045 Route 112
                Suite 5
                Coram, NY 11727


                Sysco Long Island
                199 Lowel Avenue
                Central Islip, NY 11722


                Town of Smithtown
                PO Box 9066
                Hicksville, NY 11802


                Tristate Carbonation
                216 E. Broadway #2
                Monticello, NY 12701
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                US Foods, Inc.
                1051 Amboy Avenue
                Perth Amboy, NJ 08861


                US Small Business
                Administration
                New York District Office
                26 Federal Plaza Ste 3100
                New York, NY 10278
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                                                              United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      Commack Plaza, LLC                                                                             Case No.   8-19-71978
                                                                                   Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification
or recusal, the undersigned counsel for Commack Plaza, LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 April 2, 2019                                                         /s/ Michael J. Macco
 Date                                                                  Michael J. Macco
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Commack Plaza, LLC
                                                                       Macco and Stern, LLP
                                                                       2950 Express Drive South
                                                                       Suite 109
                                                                       Islandia, NY 11749
                                                                       631-549-7900 Fax:631-549-7845




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                                                      UNITED STATES BANKRUPTCY COURT
                                                       EASTERN DISTRICT OF NEW YORK


                                                        STATEMENT PURSUANT TO LOCAL
                                                          BANKRUPTCY RULE 1073-2(b)
 DEBTOR(S):                  Commack Plaza, LLC                                                        CASE NO.:.        8-19-71978

        Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same; (ii) are
spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a
partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners; or (vii)
have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is included in the
property of another estate under 11 U.S.C. § 541(a).]

    NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

    THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:



1. CASE NO.: 19-41616                   JUDGE: Hon. Elizabeth S. Stong                 DISTRICT/DIVISION: Eastern District of New York

DEBTOR NAME: Bay Terrace Plaza, LLC

CASE STILL PENDING (Y/N):                         Y                     [If closed] Date of closing:

 CURRENT STATUS OF RELATED CASE:
                                                                           (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):                                         Affiliate

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


2. CASE NO.:                    JUDGE:                  DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                                               [If closed] Date of closing:

 CURRENT STATUS OF RELATED CASE:
                                                                           (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


3. CASE NO.:                    JUDGE:                  DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                                               [If closed] Date of closing:




                                                                                 (OVER)
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DISCLOSURE OF RELATED CASES (cont'd)

 CURRENT STATUS OF RELATED CASE:
                                                                          (Discharged/awaiting discharge, confirmed, dismissed, etc.)

 MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):                    Y


CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any time, except
as indicated elsewhere on this form.


 /s/ Michael J. Macco
 Michael J. Macco
 Signature of Debtor's Attorney                                                          Signature of Pro Se Debtor/Petitioner
 Macco and Stern, LLP
 2950 Express Drive South
 Suite 109
 Islandia, NY 11749                                                                      Signature of Pro Se Joint Debtor/Petitioner
 631-549-7900 Fax:631-549-7845

                                                                                         Mailing Address of Debtor/Petitioner


                                                                                         City, State, Zip Code


                                                                           Area Code and Telephone Number
Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or the
dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.




USBC-17                                                                                                            Rev.8/11/2009
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